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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                                              CASE NO.

 SHEILA HAGER,
 a citizen and resident of Michigan,

        Plaintiff,

 v.

 ROYAL CARIBBEAN CRUISES LTD., a
 Liberian Corporation,

       Defendant.
 ______________________________________/

                           COMPLAINT AND DEMAND FOR JURY TRIAL

        Plaintiff SHEILA HAGER, a citizen and resident of the State of Michigan, sues

 Defendant ROYAL CARIBBEAN CRUISES, LTD., a Liberian corporation with its principal

 place of business in Florida doing business as ROYAL CARIBBEAN CRUISES (RCL), and

 alleges:

                                JURISDICTION, VENUE AND PARTIES

        1.      This is an action for damages in excess of seventy-five thousand ($75,000.00)

 dollars, exclusive of interest and costs.

        2.      Plaintiff SHEILA HAGER is sui juris and is a resident and citizen of the State of

 Michigan.

        3.      Defendant ROYAL CARIBBEAN CRUISES, LTD. is a Liberian corporation

 doing business as ROYAL CARIBBEAN CRUISES, (RCL), with its principal place of business


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 in Miami, Miami-Dade County, Florida. RCL is therefore a citizen both of Liberia and of

 Florida for purposes of this action.

         4.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

 §1332, based on diversity of citizenship. The Plaintiff is a citizen and resident of the State of

 Michigan, while the Defendant is deemed a citizen of Florida and of Liberia for federal

 jurisdictional purposes, so there is complete diversity of citizenship between the parties. The

 amount in controversy exceeds $75,000.00, the minimum jurisdictional amount for diversity

 cases. The damages and injuries alleged in Paragraphs 17 and 18, including left wrist and left

 ankle fractures, support an award of damages in excess of $75,000.00.

         5.      At all material times, Defendant RCL has conducted ongoing substantial and not

 isolated business activities in Miami-Dade County, Florida, in the Southern District of Florida,

 so that in personam jurisdiction over RCL exists in the United States District Court for the

 Southern District of Florida.

         6.      At all material times, RCL has engaged in the business of operating maritime

 cruise vessels for paying passengers, including the Plaintiff.

         7.      In the operative ticket contract, RCL requires fare paying passengers such as the

 Plaintiff to bring any lawsuit against it arising out of injuries or events occurring on the cruise

 voyage in this federal judicial district. Accordingly, venue is proper in this Court.

         8.      Venue is also proper in this district because RCL’s principal place of business is

 located within this district.

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        9.      Plaintiff has complied with all conditions precedent to bringing this action. As

 required by the ticket contract, the Plaintiff, on November 18, 2019, within six months after the

 date of injury referenced below, sent Defendant RCL by mail a written notice of her claim, a

 copy of which is attached as Exhibit 1.

                         LIABILITY AND DAMAGE ALLEGATIONS

                                  COMMON TO ALL COUNTS

        10.     At all material times, Defendant RCL was engaged in the business of operating

 maritime cruise vessels for fare paying passengers and for this purpose operated, among other

 vessels, the "ALLURE OF THE SEAS.”

        11.     At all material times, Defendant RCL operated, managed, maintained and was in

 exclusive control of the “ALLURE OF THE SEAS.”

        12.     At all material times, including the injury date of October 22, 2019, the Plaintiff

 was a fare paying passenger aboard the "ALLURE OF THE SEAS" and in that capacity was

 lawfully present aboard the vessel.

        13.     At all material times, including the injury date of October 22, 2019, there existed

 a dangerous condition on the “ALLURE OF THE SEAS.” Specifically, nosings and anti-skid

 strips on stairs on a staircase leading down from the top deck, near the onboard zip line, were

 worn so that sections of the nosing and strip were not level and protruded, creating a tripping

 hazard for passengers using the staircase.




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         14.     At all material times, the staircase referenced in the preceding paragraph was in a

 high traffic area due to its frequent use by passengers descending from the top deck.

         15.     At all material times, including the injury date of October 22, 2019, the Defendant

 had actual or constructive notice of the dangerously worn and protruding condition of the

 nosings and strips on the staircase referenced in Paragraph 13. Defendant’s notice came from

 inspections of the area by its crewmembers, prior tripping incidents on the staircase, and the

 existence of the worn condition of the nosings and strips for a sufficient period of time to invite

 corrective measures. The worn appearance of the staircase nosings and strips at the time of the

 injury itself indicated that the condition had been present for a significant period of time.

         16.     Further, a number of safety agencies such as ASTM International and the

 American National Standards Institute (ANSI) have developed safety standards applicable to the

 stairs and staircase in question, such as requirements for the installation and maintenance of

 nosings and strips thereon.        The standards in and of themselves constitute additional

 constructive notice that conditions in violation of the standards are hazardous

         17.     On October 22, 2019, while lawfully present as a fare paying passenger on board

 the “ALLURE OF THE SEAS,” the Plaintiff was descending the staircase referenced in

 Paragraph 13 above when her foot caught on a protruding, worn section of a nosing or strip,

 causing her to lose her balance, trip, fall down the stairs, and thereby sustain injuries including

 fractures to her left wrist and ankle.



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        18.     As a direct and proximate result of the trip and fall described in Paragraph 17, the

 Plaintiff was injured in and about her body and extremities, sustaining injuries including

 fractures of her left wrist and ankle, suffered pain and mental anguish therefrom and sustained

 disfigurement, disability and the inability to lead a normal life. Furthermore, she incurred

 medical, hospital, and other out of pocket and health care expenses in the past and future as a

 result of her injuries and sustained aggravation or activation of preexisting injuries and

 conditions. The Plaintiff has also lost earnings and has sustained a loss of capacity to earn money

 in the future. These damages are permanent or continuing in their nature and the Plaintiff will

 continue to sustain and incur these damages in the future.

                              COUNT I - NEGLIGENT MAINTENANCE



        19.     The Plaintiff adopts, realleges and incorporates by reference all allegations of

 Paragraphs 1 through 18 above and further alleges the following matters.

        20.     At all material times Defendant RCL owed the Plaintiff SHEILA HAGER, as a

 fare paying passenger lawfully on board its vessela duty of reasonable care for her safety,

 including a duty to maintain the onboard stairs and staircase referenced in Paragraph 13 in a

 reasonably safe condition for passenger use.

        21.     At all material times there existed hazardous conditions on the staircase

 referenced in Paragraph 13, as described in Paragraph 13.




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        22.     At all material times the Defendant had actual or constructive notice of the

 hazardous conditions referenced in Paragraph 13 above, for the reasons set forth in Paragraphs

 15 and 16 above.

        23.     Notwithstanding its actual or constructive knowledge of the dangerous condition

 of the staircase referenced in Paragraph 13, Defendant RCL failed to correct the hazardous

 condition before the Plaintiff tripped and fell as alleged in Paragraph 17 above.

        24.     The specific material negligent acts and omissions by RCL included failure to

 conduct sufficient routine inspections of the staircase in question, failure to maintain the nosings

 and strips on the staircase and to replace worn nosings and strips when detected, and failure to

 cordon off the dangerous area or direct passenger foot traffic away from it. RCL was thereby

 negligent in its maintenance of the stairs and staircase.

        25.     As a direct and proximate result of the negligence of RCL described above, the

 Plaintiff SHEILA HAGER tripped and fell as described in Paragraph 17 above and thereby has

 sustained and will continue to sustain the damages described in Paragraph 18 above.

        WHEREFORE, the Plaintiff demands judgment against RCL for compensatory damages

 and the costs of this action and further demands trial by jury of all issues so triable as of right.

                    COUNT II - NEGLIGENT FAILURE TO WARN OF HAZARD

        26.     The Plaintiff adopts, realleges and incorporates by reference all allegations of

 Paragraphs 1 through 18 above and further alleges the following matters.



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        27.     At all material times Defendant RCL owed the Plaintiff SHEILA HAGER, as a

 fare paying passenger lawfully on board its vessel a duty of reasonable care for her safety,

 including a duty to warn her of onboard conditions posing tripping hazards, such as the stairs and

 staircase referenced in Paragraph 13.

        28.     At all material times there existed hazardous conditions on the staircase

 referenced in Paragraph 13, as described in Paragraph 13.

        29.     At all material times the Defendant had actual or constructive notice of the

 hazardous conditions referenced in Paragraph 13 above, for the reasons set forth in Paragraphs

 15 and 16 above.

        30.     Notwithstanding its actual or constructive knowledge of the dangerous condition

 of the staircase referenced in Paragraph 13, Defendant RCL failed to warn passengers including

 the Plaintiff of it, before the Plaintiff tripped and fell as alleged in Paragraph 17 above, through

 the use of appropriate signage or markings, oral or written warnings, cordoning off the dangerous

 area, or otherwise. RCL thereby failed to exercise reasonable care for the safety of its passengers

 and was negligent.

        31.     As a direct and proximate result of the negligence of RCL described above, the

 Plaintiff SHEILA HAGER tripped and fell as described in Paragraph 17 above and thereby has

 sustained and will continue to sustain the damages described in Paragraph 18 above.

        WHEREFORE, the Plaintiff demands judgment against RCL for compensatory damages

 and the costs of this action and further demands trial by jury of all issues so triable as of right.

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                                  DEMAND FOR JURY TRIAL

        The Plaintiff hereby demands trial by jury of all issues so triable as of right.

 Executed this 26th day of February, 2021.

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